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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )          4:08CR3148
                                     )
     v.                              )
                                     )
MICHAEL J. RAYNO,                    )    MEMORANDUM AND ORDER
                                     )
     Defendant.                      )



     A hearing was held before me on this date on allegations
made in the petition for action on conditions of pretrial
release, filing NO. 96.     The defendant was present with counsel,
and was advised of his rights.       The defendant stood mute.
Evidence was taken.     I find that the allegations of the petition
are true.


     Regarding disposition, the government requested detention,
which the defendant did not oppose.        I find that detention is
appropriate under the circumstances.


     IT THEREFORE HEREBY IS ORDERED,

     The previous order of release, filing no. 71, is revoked,
and the defendant shall be detained in the custody of the United
States Marshal until further order of the court.


     Dated January 12, 2009.

                                   BY THE COURT


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
